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                         UNITED STATES DISTRICT COURT                            JS-6
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

 Case No: SA CV 21-01201-DOC (DFMx)                      Date: November 2, 2021

 Title: Jardine Gougis v Paul Edward Martinet, et al



 PRESENT: THE HONORABLE DAVID O. CARTER, JUDGE

              Deborah Lewman                              Not Present
              Courtroom Clerk                            Court Reporter

       ATTORNEYS PRESENT FOR                      ATTORNEYS PRESENT FOR
             PLAINTIFF:                                DEFENDANT:
            None Present                                None Present



       PROCEEDINGS (IN CHAMBERS): ORDER DISMISSING CIVIL
                                                CASE

        The Court, having been notified by counsel for the parties that this action
 has been settled re Notice of Settlement [12], hereby orders this action
 DISMISSED without prejudice. The Court hereby orders all proceedings in the
 case VACATED and taken off calendar. The Court retains jurisdiction for thirty
 (30) days to vacate this order and reopen the action upon showing of good cause
 that the settlement has not been consummated.

       The Clerk shall serve this minute order on the parties.




  MINUTES FORM 11
  CIVIL-GEN
                                                                 Initials of Deputy Clerk: djl
